              UNITED STATES DISTRICT COURT
            FOR WESTERN DISTRICT OF MISSOURI
                     WESTERN DIVISION
______________________________________________________________

MOHAMMAD KHOSHNEVISZADEH,



               Plaintiff,

              V.                                   Case No. 4:22-cv-00012-RK


 SAMS WEST, INC., KEVIN COKELEY,

              Defendant.

                             JUDGMENT IN A CIVIL ACTION

______ Jury Verdict. This action came before the Court for a trial by jury. The issues have
been tried and the jury has rendered its verdict.

___X___ Decision by Court. This action has been considered and a decision has been rendered
by the Court that:

               Plaintiff’s motion to remand (Doc. 13) is GRANTED and the case is remanded to
       state court.

       IT IS SO ORDERED.

Dated: April 20, 2022                              /s/ Paige Wymore-Wynn
                                                   Clerk of the Court

Entered: April 20, 2022                            /s/ LaTandra Wheeler
                                                   Deputy Clerk




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